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                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                               :      Case No. 3:17-CV-72

                     Plaintiff                           :      Judge MOON


                                                         :
              -v-

    JASON KESSLER ET AL.                                 :

                                                         :
                     Defendants

    _______________________________________________________

    MEMORANDUM IN SUPPORT OF IDENTITY EUROPA, NATHAN DAMIGO, AND
            ELI MOSELY’S MOTION TO DISMISS THE COMPLAINT
    _______________________________________________________


       1. Federal Claims

              42 U.S.C. § 1985(3) is not intended to serve as a "general federal tort law,"

    Griffin v. Breckenridge, 403 U.S. 88, 102 (1971). It therefore “does not itself create any

    substantive rights but rather merely serves as a vehicle for vindicating some otherwise

    defined federal right, Great Am. Fed. Sav. & Loan Ass'n v. Novotny, 442 U.S. 366, 376

    (1979).

              In order to state a claim for a private conspiracy under the "equal protection"

    clause of § 1985(3), the plaintiff must allege that “the conspiracy was: (1) motivated by a

    class-based invidiously discriminatory animus; and (2) "aimed at interfering with rights


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    that are protected against private, as well as official, encroachment." Bray v. Alexandria

    Women's Health Clinic, 506 U.S. 263, 267-68 (1993); Tilton v. Richardson, 6 F.3d 683,

    686 (10th Cir. 1993).

           The Supreme Court has recognized only two rights that are protected against

    private action under § 1985(3): the right to be free from involuntary servitude and the

    right of interstate travel in the context of the Thirteenth Amendment. Bray, 506 U.S. at

    278; Tilton, 6 F.3d at 686-87.

           Though Plaintiffs Complaint rambles on for 96 pages and includes 347 numbered

    paragraphs it contains no colorable allegation defendants Identity Europa (“IE”), Nathan

    Damigo, and Eli Mosely tried to, or conspired to, impair any of the Plaintiff’s rights to

    travel or to be free of involuntary servitude. As such the § 1985 claim must fail.

           Similarly, the 42 USC § 1986 claim must also fail as since Plaintiffs failed to state

    a § 1985 claim than it is not possible for them to pursue a claim based on knowingly

    failing to stop or attempt to stop a legally non-actionable § 1985 conspiracy.

           Accordingly, Counts 1 and 2 of the Plaintiff’s Complaint must be dismissed as

    against defendants Identity Europa (“IE”), Nathan Damigo, and Eli Mosely.

       2. State law claims

           a. Civil claims based on criminal code not allowed in Virginia

           Virginia law does not allow for a civil cause of action based on violations of

    criminal statutes. Vansant & Gusler, Inc. v. Washington 245 Va. 356, 429 S.E.2d 31

    (1993). Federal Courts have recognized this prohibition. Pace v. Medco 2013 WL

    3233469 *4 (E.D. Ky).




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            Actions for common law civil conspiracy and statutory business conspiracy lie

    only if a plaintiff sustains damages as a result of an act that is itself wrongful or

    tortious. Dunlap v. Cottman Transmission Systems, LLC, 754 SE 2d 313, 317 (Va.

    2014); "[I]n Virginia, a common law claim of civil conspiracy generally requires proof

    that the underlying tort was committed." Almy v. Grisham, 273 Va. 68, 80, 639 S.E.2d

    182, 188 (2007) “Civil conspiracy is merely a method of establishing joint liability for

    the underlying tort.”

            Accordingly, all of Plaintiffs allegations derived from Title 18 of the Virginia

    Code must be dismissed as against IE, Damigo, and Mosely, as they are all defined as

    crimes under Virginia law 1 and are therefore not civilly actionable.

            b. Remainder of Plaintiffs complaint fails to state a claim against moving

                 defendants

            Conclusory and speculative allegations are insufficient to state a claim under

    federal law. Painter's Mill Grille, LLC v. Brown, 716 F. 3d 342, 349 (4th Cir. 2013.) The

    standard is the same in Virginia state courts. Squire v. Virginia Housing Dev. Auth., 758

    SE 2d 55, 66 (Va. 2014.)

            The Plaintiffs, collectively, failed to state sufficiently specific factual allegations

    against IE, Damigo, or Mosely. Rather the complaint is peppered with conclusory

    generalizations such as that IE “took the lead in organizing” participation at the Unite the

    Right Rally” 2, “organized and planned” in some non-specified way a torchlit rally 3, or

    “all agreed and coordinated with, and among each other to plan, organize, promote, and

    commit the unlawful acts that injured Plaintiffs and countless others in Charlottesville.

    1
      As against moving defendants, Plaintiffs criminal code claims are located at Complaint ¶ 323.
    2
      Complaint ¶29
    3
      Complaint ¶51


                                                         3
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            They also coordinated with numerous unnamed and named co-conspirators.” 4

    Plaintiffs fail, throughout their complaint, to put any factual meat on these conclusory

    bones. Importantly, Plaintiffs never claim that any moving defendant made any of the

    Discord chatroom comments they complain of, nor explain how those comments legally

    caused any of their damages.

            Plaintiffs further fail to state how the defendants “conspired” with each other to

    do anything other than hold lawful political rallies. Individual Plaintiffs allegations fair

    no better.

            1. Plaintiff Elizabeth Sines

            Plaintiff Sines alleges only that she “observed” 5, or “witnessed” 6 various events

    until the Complaint deals with the vehicular incident involving defendant James Fields.

    Plaintiffs have been ethical enough not to try to blame all rally participants for the actions

    of James Fields.

            Ms. Sines specifically does not allege that she was victimized in any way except

    by the vehicular incident. She only describes any damages as flowing from the vehicular

    incident. 7 Accordingly, Sines has failed to state any claim against IE, Damigo, or Mosely.

            2. Plaintiff Seth Wispelwey

            Plaintiff Wispelwey makes no specific allegations whatsoever against the moving

    defendants. At Complaint paragraphs 192 through 194 Wispelwey describes being

    knocked down by “heavily armed militiamen and extremists” but nowhere does the

    Complaint allege that IE, Damigo, or Mosely answer to that description.              Nor do


    4
      Complaint ¶63.
    5
      Complaint ¶147
    6
      Complaint ¶157
    7
      Complaint ¶271


                                                  4
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    plaintiffs specifically allege whether or how moving defendants conspired with such

    heavily armed men to knock Wispelwey or anyone else to the ground. Accordingly,

    Wispelwey has failed to state any claim against IE, Damigo, or Mosely.

            3. Plaintiff Marissa Blair

            Plaintiff Blair makes no allegations whatsoever against the moving defendants.

    All her claimed damages flow from the vehicular incident. 8 Accordingly, Blair has failed

    to state any claim against IE, Damigo, or Mosely.

            4. Plaintiff Tyler Magill

            Plaintiff Magill claims that unidentified persons threw lighter fluid on him. 9 He

    then claims that unidentified persons threw torches and that defendant Robert Ray yelled

    a sentence. 10 Magill specifically does not claim torches were thrown at him or that Ray or

    anybody else threatened him personally.

            Magill then claims, astonishingly, that he suffered a stroke no less than four days

    later that he wishes to claim as damages. Aside from the extreme unlikelihood of Magill

    being able to successfully link his stroke to a four day old event, Magill never explains

    how any of the moving defendants were in any way personally responsible for the actions

    he complains of nor how they conspired others to perpetrate any of the things he

    complains of. Accordingly, Magill has failed to state any claim against IE, Damigo, or

    Mosely.




    8
      Complaint ¶264
    9
      Complaint ¶156
    10
       Id.


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            5. Plaintiff April Muniz

            Plaintiff Muniz claims she was intimidated and harassed in a non-specified way

    by non-specified persons. 11 Her other factual claims are exclusively about the vehicular

    incident. Though Plaintiff Muniz claims she was the victim of “countless” tortious acts

    other than the vehicular incident 12, she fails to specifically describe those acts anywhere

    in the complaint.

             Muniz also fails to specify how any of the moving defendants conspired with

    others to, or personally, perpetrated any of the acts she complains of. Accordingly, Muniz

    has failed to state any claim against IE, Damigo, or Mosely.

            6. Plaintiff Hannah Pearce

            Plaintiff Pearce claims that she and family members pictures were taken and

    posted to the internet but specifically not by IE, Damigo, or Mosely. 13 She goes on to

    claim that her synagogue moved some religious items for reasons she does not link to

    moving defendants 14, and to claim she was intimidated by unidentified persons who wore

    uniforms, carried “semi-automatic” weapons, carried signs attacking her religion and
                                                              15
    shouted words she found intimidating and/or offensive.         Pearce then alleges that a “foul

    smelling liquid” was later thrown at her and hit one of her legs. 16

            Plaintiff Pearce also complains that she witnessed other people fighting and so

    had to relocate herself, and that her son, long after the relevant events, was given a

    writing prompt at school that he answered with reference to “Nazis”. 17


    11
       Complaint at ¶12 and 203
    12
       Complaint ¶269.
    13
       Complaint ¶14.
    14
       Complaint ¶128.
    15
       Complaint ¶187.
    16
       Complaint ¶202.
    17
       Complaint ¶203 and 272.


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              Pearce fails to link moving defendants either with uniforms and weapons, with

    signs and shouting outside her synagogue, with the throwing of liquid, or with writing

    prompts. Pearce specifically fails to allege that the moving defendants did anything at all

    to her or specifically how they conspired to get others to do any of the things she

    complains of. Accordingly, Pearce has failed to state any claim against IE, Damigo, or

    Mosely.

              7. Plaintiff Marcus Martin

              Plaintiff Martin makes no allegations whatsoever against the moving defendants.

    All his claimed damages flow from the vehicular incident. 18 Accordingly, Martin has

    failed to state any claim against IE, Damigo, or Mosely.

              8. Plaintiff John Doe

              Plaintiff John Doe claims he was victimized during the alleged torch throwing
                               19
    incident at the Rotunda.        John Doe never identifies any moving defendant as assaulting

    or otherwise mistreating him. Nor does Doe ever allege specifically how the moving

    defendants conspired to have anybody do any of the thing Doe complains of.

              Accordingly, John Doe has failed to state any claim against IE, Damigo, or

    Mosely.

              9. Plaintiffs Jane Doe 1, 2, and 3.

              Plaintiff Jane Does make the same or similar various and sundry allegations as the

    above Plaintiffs and those allegations fail as they suffer from same legally insufficient

    and conclusory based defects as listed above.



    18
         Complaint ¶264
    19
         Complaint ¶152-157



                                                    7
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           The Jane Does other damages all stem from the vehicular incident. Like the other

    Plaintiffs the Jane Does do not even allege that the moving defendants had anything to do

    with the vehicular incident nor do they allege how any of the moving defendants

    conspired to have James Fields do anything.

           Accordingly, the Jane Does have failed to state any claim against IE, Damigo, or

    Mosely.

           For the reasons stated, all claims against defendants Identity Europa, Nathan

    Damigo, and Eli Mosely aka Elliott Kline, must be dismissed.



                                                  Respectfully Submitted,


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                                   CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via the
       Court’s ECF system on December 7, 2017 upon:

       All parties of record. One party is entitled to or has requested service by other means
       and said party has been served by regular US mail as follows:



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                                             s/ Elmer Woodard
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